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Complaint for injunctive relief and damages
July 9 2020

Plaintiff’s ex parte application for temporary restraining order and order to show cause regarding
preliminary injunction
July 24 2020

Memorandum of points and authorities in the support of plaintiffs’ ex parte application for
Temporary Restraining Order and Order to Show Cause regarding preliminary injunction
July 24 2020

(Proposed) order to show cause regarding preliminary injunction; femporary restraining order; order
regarding service
July 24 2020

Plaintiffs ex parte application for leave to file memorandum of points and authorities in excess of page
limit
July 24 2020

Memorandum of points and authorities in support of EX Parte application for leave to file

Memorandum in excess of page limit
July 24 2020

(Proposed) order for leave to file memorandum of points and authorities in the excess of page limit
July 24 2020

Declaration of Ward A. Penfold in support of EX PARTE application for leave to file memorandum of
points and authorities in excess of page limit.
July 24 2020

Declaration of Ward A. Penfold in support of Plaintiffs’ EX Parte Application for Temporary
Restraining Order and Order to Show Cause Regarding Preliminary Injunction
July 24 2020

Declaration of Steve Beams in support of Plaintiffs’ EX Parte Application for Temporary Restraining
Order and Order to Show Cause Regarding Preliminary Injunction
July 24 2020

Declaration of James Stephens in support of Plaintiffs’ EX Parte Application for Temporary
Restraining Order and Order to Show Cause Regarding Preliminary Injunction
July 24 2020

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NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 144 1(b)

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Exhibits 11-14 to declaration of James Stephens in support of Plaintiffs’ Ex Parte application for
Temporary Restraining Order and Order to Show Cause Regarding Preliminary Injunction
July 24 2020

Exhibits 15-20 to declaration of James Stephens in support of Plaintiffs’ Ex Parte application for
Temporary Restraining Order and Order to Show Cause Regarding Preliminary Injunction

July 24 2020

Exhibits 21-26 to declaration of James Stephens in support of Plaintiffs’ Ex Parte application for
Temporary Restraining Order and Order to Show Cause Regarding Preliminary Injunction
July 24 2020

Exhibits 27-30 to declaration of James Stephens in support of Plaintiffs’ Ex Parte application for
Temporary Restraining Order and Order to Show Cause Regarding Preliminary Injunction
July 24 2020

Exhibits 30-36 to declaration of James Stephens in support of Plaintiffs’ Ex Parte application for
Temporary Restraining Order and Order to Show Cause Regarding Preliminary Injunction

July 24 2020

Exhibits 37-40 to declaration of James Stephens in support of Plaintiffs’ Ex Parte application for
Temporary Restraining Order and Order to Show Cause Regarding Preliminary Injunction

July 24 2020

Exhibits 41-46 to declaration of James Stephens in support of Plaintiffs’ Ex Parte application for
Temporary Restraining Order and Order to Show Cause Regarding Preliminary Injunction

July 24 2020

Exhibits 47-50 to declaration of James Stephens in support of Plaintiffs’? Ex Parte application for
Temporary Restraining Order and Order to Show Cause Regarding Preliminary Injunction

July 24 2026
Declaration of Jeff Camp in support of Plaintiffs’ EX Parte Application for Temporary Restraining

Order and Order to Show Cause Regarding Preliminary Injunction
July 24 2020

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NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b)

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Exhibits 4-6 to Declaration of Jeff Camp in support of Plaintiffs’ EX Parte Application for Temporary
Restraining Order and Order to Show Cause Regarding Preliminary Injunction
July 24 2020

Exhibits 7-10 to Declaration of Jeff Camp in support of Plaintiffs’ EX Parte Application for
Temporary Restraining Order and Order to Show Cause Regarding Preliminary Injunction
July 24 2020

Exhibits 11-12 to Declaration of Jeff Camp in support of Plaintiffs’ EX Parte Application for
Temporary Restraining Order and Order to Show Cause Regarding Preliminary Injunction
July 24 2020

Declaration of Matthew Burge in support of Plaintiffs’ EX Parte Application for Temporary
Restraining Order and Order to Show Cause Regarding Preliminary Injunction
Juky 24 2020

Declaration of Roel Meregillano in support of Plaintiffs’ EX Parte Application for Temporary
Restraining Order and Order te Show Cause Regarding Preliminary Injunction
July 24 2020

Declaration of Maryellen Luna in support of Plaintiffs’ EX Parte Application for Temporary
Restraining Order and Order to Show Cause Regarding Preliminary Injunction
July 24 2020

Declaration of Rick Gomes in support of Plaintiffs’ EX Parte Application for Temporary Restraining
Order and Order to Show Cause Regarding Preliminary Injunction
July 24 2020

Exhibits 3 to Declaration of Rick Gomes in support of Plaintiffs’ EX Parte Application for Temporary
Restraining Order and Order to Show Cause Regarding Preliminary Injunction
July 24 2020

Exhibits 4-5 to Declaration of Rick Gomes in support of Plaintiffs’ EX Parte Application for
Temporary Restraining Order and Order to Show Cause Regarding Preliminary Injunction

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Exhibits 6-8 to Declaration of Rick Gomes in support of Plaintiffs’ EX Parte Application for
Temporary Restraining Order and Order to Show Cause Regarding Preliminary Injunction

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Exhibits 9-15 to Declaration of Rick Gomes in support of Plaintiffs’ EX Parte Application for
Temporary Restraining Order and Order to Show Cause Regarding Preliminary Injunction
July 24 2020

Exhibits 16-19 to Declaration of Rick Gomes in support of Plaintiffs’ EX Parte Application for
Temporary Restraining Order and Order to Show Cause Regarding Preliminary Injunction
July 24 2020

Exhibits 20-25 to Declaration of Rick Gomes in support of Plaintiffs’ EX Parte Application for
Temporary Restraining Order and Order to Show Cause Regarding Preliminary Injunction
July 24 2020

Exhibits 26-27 to Declaration of Rick Gomes in suppert of Plaintiffs’ EX Parte Application for
Temporary Restraining Order and Order to Show Cause Regarding Preliminary Injunction

July 24 2020

Exhibits 28 to Declaration of Rick Gomes in support of Plaintiffs’ EX Parte Application for
Temporary Restraining Order and Order to Show Cause Regarding Preliminary Injunction

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Exhibits 29-31 to Declaration of Rick Gomes in support of Plaintiffs’ EX Parte Application for
Temporary Restraining Order and Order to Show Cause Regarding Preliminary Injunction

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Exhibits 32-35 to Declaration of Rick Gomes in support of Plaintiffs’ EX Parte Application for
Temporary Restraining Order and Order to Show Cause Regarding Preliminary Injunction
July 24 2020

Exhibits 36-40 to Declaration of Rick Gomes in support of Plaintiffs’ EX Parte Application for
Temporary Restraining Order and Order to Show Cause Regarding Preliminary Injunction
July 24 2620

Exhibits 41-45 to Declaration of Rick Gomes in suppert of Plaintiffs’ EX Parte Application for
Temporary Restraining Order and Order to Show Cause Regarding Preliminary Injunction

July 24 2020

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Exhibit 46 to Declaration of Rick Gomes in support of Plaintiffs’ EX Parte Application for Temporary
Restraining Order and Order to Show Cause Regarding Preliminary Injunction July 24
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Exhibits 47-50 to Declaration of Rick Gomes in support of Plaintiffs’ EX Parte Application for
Temporary Restraining Order and Order to Show Cause Regarding Preliminary Injunction
July 24 2020

Exhibits 51 to Declaration of Rick Gomes in support of Plaintiffs’ EX Parte Application for
Temporary Restraining Order and Order to Show Cause Regarding Preliminary Injunction
July 24 2020

Exhibits $2-53 to Declaration of Rick Gomes in support of Plaintiffs’ EX Parte Application for
Temporary Restraining Order and Order to Show Cause Regarding Preliminary Injunction

July 24 2020

Response to Opposition to the EX Parte application for Temporary Restraining Order and Order to
Show Cause regarding Preliminary injunction
July 27 2020

Order to show cause regarding Preliminary Injunction; Temporary Restraining Order; Order

Regarding Service
July 28 2020

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